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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA


JOSEPH LEWIS, JR., et al., on behalf of
themselves and all others similarly situated,


                 Plaintiffs,                             CIVIL ACTION NO. 3:15-cv-318


                         v.                              JUDGE SDD


BURL CAIN, Warden of the Louisiana State                 MAGISTRATE RLB
Penitentiary, in his official capacity, et al.,


                 Defendants.




                    DEFENDANTS’ LIST OF CANDIDATES TO SERVE AS
                                SPECIAL MASTERS/MONITORS


        NOW INTO COURT COME Defendants in the above-captioned matter, through

undersigned counsel, who submit their list of proposed candidates to serve as special

masters/monitors pursuant to this Courts remedial order dated November 6, 2023. Defendants

submit the following list and include attached resumes for each potential candidate.

    A. Doctors

              1. Dr. Chad Zewitz (Ex. “A”)
              2. Dr. Carl Keldie (Ex. “B”)
              3. Dr. Randall Stoltz (Ex. “C”)


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    B. Nurses

              1. Becky Pinney (Ex. “D”)
              2. Ruth Naglich (Ex. “E”)
              3. Erica Uzpen (Ex. “F”)

    C. ADA Specialists

              1. Randal Atlas (Ex. “G”)
              2. Kristi Avalos (Ex. “H”)
              3. Sabot Consulting (Martinez/Wahl) (Ex. “I” and “J”)


          The Parties have conferred multiple times and are working together to continue to vet

potential candidates in the hope of reaching agreement on one or more of the special master

positions. The Parties have agreed to provide the Court with an update as to any agreement by

December 13, 2023.

          Finally, Defendants submit this list pursuant to this Courts remedial order, but note that

the case is now on appeal before the U.S. Fifth Circuit Court of Appeal. Defendants show that

the submission of this list pursuant to the remedial order is not intended to serve as a waiver of

any issues that may be raised on appeal and Defendants expressly reserve the right to such

appeal.




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                                            By: /s/ Randal J. Robert
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to all
CM/ECF participants.
                                                    /s/ Randal J. Robert
                                                    Randal J. Robert, La. Bar No. 21840




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